Case 2:08-cr-00093-KJM Document 1321 Filed 03/24/15 Page 1 of 9
Case 2:08-cr-00093-KJM Document 1321 Filed 03/24/15 Page 2 of 9
Case 2:08-cr-00093-KJM Document 1321 Filed 03/24/15 Page 3 of 9
Case 2:08-cr-00093-KJM Document 1321 Filed 03/24/15 Page 4 of 9
Case 2:08-cr-00093-KJM Document 1321 Filed 03/24/15 Page 5 of 9
Case 2:08-cr-00093-KJM Document 1321 Filed 03/24/15 Page 6 of 9
Case 2:08-cr-00093-KJM Document 1321 Filed 03/24/15 Page 7 of 9
Case 2:08-cr-00093-KJM Document 1321 Filed 03/24/15 Page 8 of 9
Case 2:08-cr-00093-KJM Document 1321 Filed 03/24/15 Page 9 of 9
